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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

KAMIL KUKLINESKI, individually and on
behalf of all others similarly situated,

               Plaintiff,                               Case No. 3:21-cv-01425-SPM

       v.                                               Hon. Stephen P. McGlynn
BINANCE CAPITAL MANAGEMENT CO.,
LTD. d/b/a/ BINANCE, BAM TRADING
SERVICES INC. d/b/a BINANCE.US, and
JUMIO CORPORATION,

               Defendants.


         STIPULATION REGARDING DEADLINE FOR DEFENDANT
  BINANCE CAPITAL MANAGEMENT CO., LTD.’S RESPONSE TO COMPLAINT

       WHEREAS, on October 4, 2021, Plaintiff Kamil Kuklineski (“Plaintiff”) filed a putative

class action in the Circuit Court for the Twentieth Judicial Circuit, St. Clair County, Illinois (the

“Action”);

       WHEREAS, on November 12, 2021, Defendant BAM Trading Services Inc. (“BAM”)

removed the Action to this Court;

       WHEREAS, Plaintiff alleges the registered agent for Defendant Binance Capital

Management Co., Ltd. (“Binance”) was served on October 15, 2021, but Binance asserts that it

was never provided with a copy of the Complaint by its registered agent;

       WHEREAS, Binance alleges it is a non-U.S. company without any relevant connections to

this forum, and therefore it objects to the personal jurisdiction of this Court; and

       WHEREAS, the undersigned counsel for Binance has contacted Plaintiff’s counsel in an

effort to eliminate the need for formal service and preserve Binance’s ability to challenge whether

this Court has personal jurisdiction and present its other defenses to the Action;


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       NOW, THEREFORE, Plaintiff and Binance, through their respective counsel, and subject

to the Court’s approval, hereby stipulate as follows:

       1.      The deadline for Binance to respond to Plaintiff’s Complaint shall be January 31,

               2022; and

       2.      Binance does not waive any of its rights or defenses (including its forthcoming

               personal jurisdiction challenge) by agreeing to and/or filing this stipulation.


Dated: December 20, 2021                          Respectfully submitted,

/s/ Joel D. Beckwith                              /s/ Jacob L. Kahn

Joel D. Beckwith                                  Alexander H. Southwell*
FREEARK, DENNIS, MURPHY & MOSKOP,                 GIBSON, DUNN & CRUTCHER LLP
P.C.                                              200 Park Avenue
P.O. Box 546                                      New York, NY 10166
Belleville, IL 62222                              Tel: 212-351-3981
Tel: 618-233.2686                                 asouthwell@gibsondunn.com
jbeckwith@freeark.com
                                                  Christopher Chorba**
                                                  GIBSON, DUNN & CRUTCHER LLP
Counsel for Plaintiff Kamil Kuklineski            333 S. Grand Avenue
                                                  Los Angeles, CA 90071
                                                  Tel: 212-229-7396
                                                  cchorba@gibsondunn.com

                                                  Jacob L. Kahn, #6296867*
                                                  RILEY SAFER HOLMES & CANCILA LLP
                                                  70 West Madison Street, Suite 2900
                                                  Chicago, Illinois 60602
                                                  Tel: 312-471-8700
                                                  jkahn@rshc-law.com

                                                  *admitted pro hac vice
                                                  ** pro hac application to be submitted

                                                  Counsel for Defendant Binance Capital
                                                  Management Co., Ltd.




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                                SIGNATURE CERTIFICATION

       I hereby certify that the other signatories have expressly agreed to the form and substance

of this document.


                                               /s/   Jacob L. Kahn
                                                     Jacob L. Kahn




                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically with the

Clerk of the Court using the CM/ECF system on December 20, 2021, which will send notification

of such filing to all counsel of record.



                                               /s/   Jacob L. Kahn
                                                     Jacob L. Kahn




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